       Case 1:19-cv-00660-MKB-PK                       Document 473            Filed 07/10/25      Page 1 of 4 PageID #:
                                                              2566




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         July 10, 2025


         VIA ECF

         Honorable Margo K. Brodie
         United States District Court
         Eastern District of New York
         225 Cadman Plaza East
         Brooklyn, New York 11201

                       Re: Federal Defenders of New York, Inc. v. Federal Bureau of Prisons, et al.,
                                              No. 19-cv-00660 (E.D.N.Y.)

         Dear Judge Brodie:

                          I write to update the Court on the parties’ ongoing efforts to address issues raised
         in this litigation through mediation.

         I.          Background

                        I have continued to receive call and videoconference data from the parties. I also
         continue to be in communication with the Federal Defenders, Inc. (“Plaintiff”) and their counsel,
         the government, and representatives of the Metropolitan Detention Center (“MDC”) and
         Metropolitan Correctional Center (“MCC”).1

                        My communications with the Federal Defenders and the government focused on
         the following topics:

                              1.       The current status of in-person legal visitation at the MDC.

                        2.       The execution of the current protocol for scheduling and placing attorney-
         client phone calls at the MDC.




         1
             I held joint mediation calls with the parties on June 17, July 1, and July 8, 2025.
             Magistrate Judge Peggy Kuo attended the calls as well.
Case 1:19-cv-00660-MKB-PK                   Document 473            Filed 07/10/25          Page 2 of 4 PageID #:
                                                   2567

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II.        Telephonic Contact

               The parties continue to schedule and facilitate legal phone calls under the Court
Protocol for Attorney Calls and Teleconference Hearings. Pursuant to the Protocol, attorney-client
calls are scheduled by Federal Defenders for afternoon slots of one-half hour each from 12pm to
3pm at the MDC. As Your Honor is aware, the parties have also made efforts to expand legal call
hours beyond the times provided in the Protocol. See ECF Nos. 70 & 76.

               According to information received from the parties, MDC scheduled 321 calls
between June 12 and July 9, 2025. Of these 321 calls, 188 were completed, 18 were attempted but
not completed, seven were cancelled or scheduled by the inmate’s attorney, six were not completed
because the inmate was on a different floor, one was not completed because the inmate was in the
SHU, three were not completed because the inmate refused the call, three were not completed
because the inmate had an in-person legal visit, one was not completed because the inmate had an
in-person social visit, 14 were not completed because the specific attorney was restricted from
calling the inmate, three were not completed because the wrong external phone number was
provided, one was not completed because the inmate was in court, one was not completed because
the “inmate appear[ed] to be under the influence,” one was not completed because there was a
“security incident,” one was not completed because the inmate was “in transit,” one was not
completed because the inmate had a medical appointment, and one was not completed because the
inmate was not at the institution. Finally, eight calls were not completed for unknown reasons,
and we are unaware of the outcome for 63 calls. We are working with the parties to gather more
information about these calls.

                    Additionally, Federal Defenders report some technical issues over the past four
weeks.

III.       Videoconferencing

                 According to the information received from the parties, MDC scheduled 301
videoconferences between June 12 and July 9, 2025. Of these 301 VTCs, 209 were completed,2
eight VTCs were completed as a call,3 seven were cancelled or rescheduled by the inmate’s
attorney, three were not completed because the inmate refused the VTC, one was not completed
because the inmate was in court, one was not completed because the inmate had an in-person legal
visit, two were not completed because the inmate was on a different floor, three were not completed
because the inmate was in the SHU, and four were not completed because the inmate was not at
the institution. Finally, three VTCs were not completed for unknown reasons, and we are unaware
of the outcome for 68 VTCs. We are working with the parties to gather more information about
these VTCs.

                    Again, Federal Defenders report some technical issues with VTCs over the past
four weeks.

IV.        In-Person Visiting


2
    The Federal Defenders reported three of these VTCs as not completed.
3
    The parties reported that these VTCs were switched to a call because of technical issues.
Case 1:19-cv-00660-MKB-PK           Document 473         Filed 07/10/25      Page 3 of 4 PageID #:
                                           2568

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                The parties continue to discuss the tracking of attorney wait times, and the MDC
continues to collect and maintain attorney-generated data on wait times. Although incomplete
because of limited attorney participation in the data-gathering process, this data is available should
the need to track specific wait times arise. The parties continue to discuss ways to efficiently
collect and store the data and to increase participation by defense counsel in the necessary record
keeping.

                The parties continue to discuss issues related to the implementation of procedures
regarding legal access. Most recently, the institution finalized a legal access guide for use at the
institution on August 30, 2024, which Federal Defenders provided various proposals for
throughout the drafting process. The guide covers a variety of areas that are the subject of our
discussion during the mediation calls, which we hope will improve communication at the
institution and provide clear instructions. As of December 13, 2024, hard copies of the legal access
guide are available in the institution’s East and West buildings. An electronic copy of the legal
access guide is now available on the MDC’s website as well.

                Additionally, the parties continued discussions concerning MDC’s new visitor
tracking program, which aims to compile information from visitors and reduce wait-times
associated with entry to the institution. Following the program’s launch in mid-April 2025,
Federal Defenders reported delays for certain legal visits. MDC responded that these delays were
associated with the initial information collection process for the new system, which should
expedite visitors’ entry moving forward. Most recently, several attorneys reportedly experienced
lengthy wait-times at MDC’s entrance in early July 2025. The institution explained that it will
continue to address these issues as they arise and noted that quarterly staffing changes and training
occur as well. During recent mediation discussions, we separately suggested that the attorneys use
the time-stamped form system in place at MDC as a way to better track the wait-time issue moving
forward. The parties will continue to discuss the new program during its implementation and as
any issues arise.

               With respect to ICE detainees and surrounding legal access issues for them, the ICE
website sets forth processes for attorneys to use, which is separate from the pre-trial detainee
system. Counsel have reported delays in seeing their ICE clients, which have been relayed to the
MDC both on our calls and separately. In response, MDC has directed legal visitors to the ICE
website for specific information on how to visit and communicate with ICE clients.

                The parties have also discussed ongoing technical issues with telephones and VTC
equipment in various units over the past several weeks, which are investigated regularly by the
institution’s staff. In response to recent and repeated complaints about lack of headphone
availability for VTCs, the institution is creating a temporary program where MDC staff bring
headphones to the 8th floor and offer them to inmates.

             Additionally, the parties are engaged in a review of the latest draft settlement
       agreement. I will continue to discuss these and other issues with the parties.
Case 1:19-cv-00660-MKB-PK         Document 473        Filed 07/10/25   Page 4 of 4 PageID #:
                                         2569

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                                     Respectfully,

                                            /s/ Loretta E. Lynch
                                     Loretta E. Lynch



cc:   Sean Hecker, Hecker Fink LLP
      Dara A. Olds, U.S. Attorney’s Office (E.D.N.Y.)
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